Case 9:20-cv-81205-RAR Document 2071 Entered on FLSD Docket 12/04/2024 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 20-CV-81205-RAR

   SECURITIES AND EXCHANGE
   COMMISSION,

                  Plaintiff,

   v.

   COMPLETE BUSINESS SOLUTIONS
   GROUP, INC. d/b/a PAR FUNDING, et al.,

               Defendants.
   ______________________________________/

                  ORDER ESTABLISHING BRIEFING SCHEDULE ON
           RECEIVER’S MOTION TO SUPPLEMENT MOTION TO (1) APPROVE
            PROPOSED PLAN OF DISTRIBUTION AND (2) AUTHORIZE FIRST
         INTERIM DISTRIBUTION TO ADJUST ALLOWED CLAIM AMOUNTS AND
        PROPOSED FIRST INTERIM DISTRIBUTIONS FOR CERTAIN AGENT FUNDS

          THIS CAUSE comes before the Court upon the Receiver’s Motion to Supplement Motion

   to (1) Approve Proposed Plan of Distribution and (2) Authorize First Interim Distribution to Adjust

   Allowed Claim Amounts and Proposed First Interim Distributions for Certain Agent Funds, filed

   on December 4, 2024 (“Motion to Supplement”), [ECF No. 2070]. In the Motion to Supplement,

   the Receiver details certain adjustments to allowed claim amounts and proposed first interim

   distributions for five agent fund claimants that the Receiver wishes to incorporate into his Motion

   to (1) Approve Proposed Plan of Distribution and (2) Authorize First Interim Distribution

   (“Distribution Motion”), [ECF No. 2014]. The Court having carefully reviewed the Motion to

   Supplement and the record in this matter, it is hereby

          ORDERED AND ADJUDGED as follows:
Case 9:20-cv-81205-RAR Document 2071 Entered on FLSD Docket 12/04/2024 Page 2 of 2




          1.      Any claimant who opposes the Motion to Supplement is permitted to file a response

   to the Motion to Supplement of no more than ten (10) pages on or before December 11, 2024.

          2.      The Receiver is then permitted to file a reply to each response, or a combined reply

   to all responses, if necessary, on or before December 13, 2024.

          3.      The Court will consider the proposed amendment detailed in the Motion to

   Supplement (and any responses or replies to the Motion to Supplement) in conjunction with, and

   incorporate its rulings as part of, the Court’s forthcoming Order on the Distribution Motion.

          DONE AND ORDERED in Miami, Florida, this 4th day of December, 2024.



                                                        ____________________________________
                                                        RODOLFO A. RUIZ II
                                                        UNITED STATES DISTRICT JUDGE




                                              Page 2 of 2
